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                 IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF TEXAS
                           EL PASO DIVISION

PRISCILLA ORTEGA,                      §
Plaintiff                              §
                                       §     CIVIL ACTION NO. 3:10-cv-395
vs.                                    §
                                       §     Jury Trial Demanded
MONARCH RECOVERY                       §
MANAGEMENT, INC.                       §
FKA ACADEMY COLLECTION                 §
SERVICES, INC.,                        §
Defendant                              §


                            ORIGINAL COMPLAINT

TO THE HONORABLE UNITED STATES DISTRICT JUDGE:

                                 NATURE OF ACTION

      1.      This is an action for damages brought by an individual plaintiff for

Defendant’s violations of the Fair Debt Collection Practices Act, 15 U.S.C. § 1692,

et seq. (hereinafter “FDCPA”), the Texas Debt Collection Practices Act, Chapter

392 (hereinafter “TDCPA”) and the Texas Business and Commerce Code,

Subchapter E, Chapter 17, (hereinafter “DTPA”), which prohibit debt collectors

from engaging in abusive, deceptive, and unfair practices.

      2.      Plaintiff seeks to recover monetary damages for Defendant’s violation

of the FDCPA, the TDCPA and the DTPA, and to have an Order or injunction

issued by this Court preventing Defendants from continuing its violative behaviors.
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       3.      Service may be made upon Defendant in any other district in which it

may be found pursuant to 29 U.S.C. §1132(e)(2).

                             JURISDICTION AND VENUE

       4.      Jurisdiction of this Court arises under 15 U.S.C. § 1692k(d), 28

U.S.C. § 1331, and 28 U.S.C. § 1337.

       5.      Venue is proper before this Court pursuant to 28 U.S.C. §1391(b),

where the acts and transactions giving rise to Plaintiff’s action occurred in this

district, where Plaintiff resides in this district, and/or where Defendant transacts

business in this district.

                                       PARTIES

       6.      Plaintiff, Priscilla Ortega (“Plaintiff”), is a natural person residing in

El Paso County.

       7.      Plaintiff is a consumer as defined by the FDCPA, 15 U.S.C. §

1692a(3) and the Texas Business and Commerce Code section §17.50(a)(1) and

Texas Finance Code §392.001(1).

       8.      Defendant, Monarch Recovery Management, Inc. fka Academy

Collection Services, Inc. (“Defendant”) is an entity who at all relevant times was

engaged, by use of the mails and telephone, in the business of attempting to collect

a “debt” from Plaintiff, as defined by 15 U.S.C. §1692a(5) and by Tex. Fin. Code

Ann. § 392.001(6).
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      9.      Defendant is a “debt collector” as defined by 15 U.S.C. § 1692a(6)

and by Tex. Fin. Code Ann. § 392.001(2).

                            FACTUAL ALLEGATIONS

      10.     Plaintiff is a natural person obligated, or allegedly obligated, to pay a

debt owed or due, or asserted to be owed or due a creditor other than Defendant.

      11.     Plaintiff's obligation, or alleged obligation, owed or due, or asserted to

be owed or due a creditor other than Defendant, arises from a transaction in which

the money, property, insurance, or services that are the subject of the transaction

were incurred primarily for personal, family, or household purposes and Plaintiff

incurred the obligation, or alleged obligation, owed or due, or asserted to be owed

or due a creditor other than Defendant.

      12.     Defendant uses instrumentalities of interstate commerce or the mails

in a business the principal purpose of which is the collection of any debts, and/or

regularly collects or attempts to collect, directly or indirectly, debts owed or due,

or asserted to be owed or due another.

      13.     Defendant caused Plaintiff’s telephone to ring repeatedly or

continuously with intent to harass, annoy or abuse Plaintiff.

      14.     Plaintiff had originally agreed to a 6 month payment plan with the

Defendant on the underlying debt.

      15.     At the expiration of the six months, Defendant attempted to induce
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Plaintiff into agreeing to another similar payment plan.

      16.    When Plaintiff refused to do so, starting in March or April of 2010,

Defendant began a barrage of collection calls to the Plaintiff, often calling her as

much as 5 times during the same day. (§ 1692d(5)).

      17.    Defendant repeatedly contacted Plaintiff at her place of employment

after being informed that such calls were inconvenient to Plaintiff and violated the

policy of Plaintiff’s employer.

      18.    In March or April of 2010, Plaintiff informed Defendant that she

could not get any future calls at her place of employment because she was in

danger of getting into trouble with her supervisor.

      19.    Defendant’s collector told her that she would continue to get calls at

work nonetheless, and Defendant did continue to call her at her place of

employment subsequent to that time. (§ 1692c(a)(1)(3)).

      20.    Defendant communicated with Plaintiff at times or places which were

known or should have been known to be inconvenient for Plaintiff, including

calling at Plaintiff between the hours of 9:00 pm and 8:00 am (§ 1692c(a)(1)).

      21.    Defendant used unfair or unconscionable means against Plaintiff in

connection with an attempt to collect a debt including withdrawing funds from

Plaintiff’s bank account without authorization.

      22.    When Plaintiff refused to enter into another payment plan with the
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defendant, she finally agreed to allow them to take one additional payment to go

toward the aforementioned debt.

      23.    Defendant subsequently began making monthly withdrawals from

Plaintiff’s bank account without her authorization. (§ 1692f)).

      24.    Defendant threatened to take an action against Plaintiff that could not

be legally taken or that was not actually intended to be taken, including threatening

to file a lawsuit against Plaintiff without the actual intent to do so.

      25.    On numerous occasions, starting in approximately April of 2010,

Defendant threatened to file a lawsuit against Plaintiff in connection with the

aforementioned debt without the actual intent to do so. (§ 1692e(5)).

      26.    Defendant’s actions constitute conduct highly offensive to a

reasonable person, and as a result of Defendant’s behavior Plaintiff suffered and

continues to suffer injury to Plaintiff’s feelings, personal humiliation,

embarrassment, mental aguish and/or emotional distress.

      27.    As a result of the above violations of the FDCPA, Plaintiff suffered

and continues to suffer personal humiliation, embarrassment, mental anguish and

emotional distress, and Defendants are liable to Plaintiff for Plaintiff’s actual

damages, statutory damages, and costs and attorney’s fees.

                                 COUNT I--FDCPA

      28.    Plaintiff repeats and re-alleges each and every allegation contained
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above.

     29.      Defendant’s aforementioned conduct violated the FDCPA.

     WHEREFORE, Plaintiff prays for relief and judgment, as follows:

           a) Adjudging that Defendant violated the FDCPA;

           b) Awarding Plaintiff statutory damages, pursuant to 15 U.S.C. §1692k,

              in the amount of $1,000.00;

           c) Awarding Plaintiff actual damages, pursuant to 15 U.S.C. §1692k;

           d) Awarding Plaintiff reasonable attorneys’ fees ands costs incurred in

              this action;

           e) Awarding Plaintiff any pre-judgment and post-judgment interest as

              may be allowed under the law;

           f) Awarding such other and further relief as the Court may deem just and

              proper.

                                COUNT II--TDCPA

     30.      Plaintiff repeats and re-alleges each and every allegation above.

     31.      Defendant violated the Texas Debt Collection Practices Act in one or

     more of the following ways:

           a. Threatening to take an action prohibited by law (Tex Fin Code §

              392.301(a)(8));

           b. Causing Plaintiff’s telephone to ring repeatedly or continuously, or
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   making repeated or continuous telephone calls, with the intent to

   harass Plaintiff (Tex Fin Code § 392.302(4));

c. Collecting or attempting to collect an obligation under a check, draft,

   debit payment, or credit card payment, where: 1) the check or draft

   was dishonored or the debit payment or credit card payment was

   refused because the check or draft was not drawn or the payment was

   not made by a person authorized to use the applicable account; 2)

   Defendant had received written notice from a person authorized to use

   the account that the check, draft, or payment was unauthorized; and 3)

   the person authorized to use the account had filed a report concerning

   the unauthorized check, draft, or payment with a law enforcement

   agency, as defined by Article 59.01, Code of Criminal Procedure, and

   has provided the debt collector with a copy of the report. (Tex Fin

   Code § 392.303(a)(3)(A));

d. Misrepresenting the character, extent, or amount of a consumer debt,

   or misrepresenting the consumer debt's status in a judicial or

   governmental proceeding (Tex Fin Code § 392.304(a)(8));

e. Using false representations or deceptive means to collect a debt or

   obtain information concerning a consumer, including (Tex Fin Code §

   392.304(a)(19)).
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      WHEREFORE, Plaintiff prays for relief and judgment, as follows:

            a) Adjudging that Defendant violated the TDCPA;

            b) Awarding Plaintiff statutory damages pursuant to the TDCPA;

            c) Awarding Plaintiff actual damages pursuant to the TDCPA;

            d) Awarding Plaintiff reasonable attorneys’ fees ands costs incurred in

               this action;

            e) Awarding Plaintiff any pre-judgment and post-judgment interest as

               may be allowed under the law;

            f) Awarding such other and further relief as the Court may deem just and

               proper.

                                 COUNT III—DTPA

      32.      Plaintiff reincorporates by reference herein all prior paragraphs above.

      33.      This suit is brought, in part, under the authority of Tex. Bus. & Com.

Code § 17.41 et seq., commonly known as the Deceptive Trade Practices and

Plaintiff Protection Act and cited in this petition as the “DTPA”.

      34.      Defendant was given notice in writing of the claims made in this

Petition more than sixty days before this suit was filed in the manner and form

required by DTPA §17.505 (a).

      35.      Defendant made numerous material misrepresentations in an attempt

to collect the purported consumer debt as detailed above.
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        36.   Defendant knew or should have known that its representations were

false and/or acted in reckless disregard for the truth or falsity of its representations.

        37.   Defendant’s actions were done maliciously and in willful, wanton and

reckless disregard for the rights of the Plaintiff.

        38.   Defendant’s actions as detailed above constitute a violation of the

Texas Deceptive Trade Practices Act, Tex. Bus. & Com. Code § 17.41.

        39.   The conduct described above has been and is a producing and

proximate cause of damages to Plaintiff. Plaintiff’s damages include: Statutory

damages of at least $100.00 per violation, actual/economic damages, emotional

and/or mental anguish damages, exemplary/punitive damages, and Plaintiff’s

attorneys’ fees and costs.

        40.   Additionally, Plaintiff seeks an award of discretionary additional

damages in an amount not to exceed three times the amount of economic damages

if Defendant’s conduct is found to have been committed knowingly; or an amount

not to exceed three times the amount of economic and mental anguish damages if

Defendants’ conduct is found to have been committed intentionally.

        41.   Plaintiff seeks reasonable and necessary attorney’s fees in this case

through the time judgment is entered and for any post-trial or post-judgment

appeals, to be detailed through a statement of services submitted at the appropriate

time.
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WHEREFORE, Plaintiff prays for relief and judgment as follows:

(a)   a declaratory judgment be entered that Defendant’s conduct violated

the DTPA;

(b)   an    award     for      all   actual   damages,   exemplary     damages,

emotional/mental anguish damages and all statutory additional damages, all

attorneys fees, costs of court, and pre-judgment and post-judgment interest

at the highest lawful rates.

(c)   an award of discretionary additional damages in an amount not to

exceed three times the amount of economic damages if Defendant’s conduct

is found to have been committed knowingly; or an amount not to exceed

three times the amount of economic and mental anguish damages if

Defendant’s conduct is found to have been committed intentionally.

(d)   such other and further relief as may be just and proper.

                            TRIAL BY JURY

42.   Plaintiff is entitled to and hereby demands a trial by jury.

                                          Respectfully submitted,


                                          By: /s/ Dennis R. Kurz
                                          Dennis R. Kurz
                                          Texas State Bar # 24068183
                                          Attorney in Charge for Plaintiff
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                         CERTIFICATE OF SERVICE


I certify that on October 28, 2010, I electronically filed the foregoing document
with the clerk of the U.S. District Court, Western District of Texas, El Paso
Division, using the electronic case filing system of the court.


                                                          /s/ Dennis R. Kurz
                                                          Dennis R. Kurz
